           Case 4:12-cr-00014-LPR Document 652 Filed 06/18/14 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

vs.                              NO. 4:12CR00014-022 SWW

MICHAEL WATKINS                                                            DEFENDANT

                                            ORDER

       The above entitled cause came on for hearing June 17, 2014 on government’s petition to

revoke the probation previously granted this defendant in the United States District Court for the

Eastern District of Arkansas. Based upon the admissions of defendant, the Court found that

defendant has violated the conditions of probation without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the petition to revoke probation

[doc #650] is granted and the probation previously granted this defendant, be, and it is hereby,

revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of NINE

(9) MONTHS in the custody of the Bureau of Prisons. The Court recommends that defendant be

placed in a facility in Texarkana, TX; and that defendant participate in substance abuse treatment

during incarceration.

       There will be TWO (2) YEARS of supervised release to follow. All standard conditions

of supervision will apply. In addition, the Court modifies the conditions of supervised release as

follows:

       1.      The defendant shall abstain from the use of alcohol throughout the term of
               supervised release. All other conditions of supervised release previously imposed
               in the Judgment and Commitment entered June 4, 2014 [doc #594] remain in full
               force and effect.
         Case 4:12-cr-00014-LPR Document 652 Filed 06/18/14 Page 2 of 2




       2.     The defendant shall participate in and complete the U. S. Probation Office’s
              substance abuse driven Moral Reconation Therapy program.

       All other conditions of supervised release previously imposed in the Judgment and

Commitment entered June 4, 2014 [doc #594] remain in full force and effect.

       The defendant is remanded to custody.

   IT IS SO ORDERED this 18th day of June 2014.

                                                   /s/Susan Webber Wright

                                                   United States District Judge
